Case: 5:16-cr-00022-DCR        Doc #: 199     Filed: 05/03/17    Page: 1 of 11 - Page ID#:
                                            1386



                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                               CENTRAL DIVISION
                                  (at Lexington)
  UNITED STATES OF AMERICA,                        )
                                                   )
         Plaintiff,                                )   Criminal Action No. 5: 16-022-DCR
                                                   )
  V.                                               )
                                                   )
  DAVID BLACK DAUGHERTY and                        )     MEMORANDUM OPINION
  ALFRED BRADLEY ADKINS,                           )         AND ORDER
                                                   )
         Defendants.                               )

                                    *** *** *** ***

       Defendant David Black Daugherty, a former Administrative Law Judge (“ALJ”) with

the Social Security Administration (“SSA”), and clinical psychologist Alfred Bradley Adkins

were subjects of a Federal Grand Jury Indictment returned on April 1, 2016. [Record No. 1]

The defendants were charged with numerous counts related to a conspiracy spanning more

than seven years. Along with Eric Conn, Daugherty and Adkins are alleged to have unlawfully

deprived the Social Security Administration of an amount in excess of $600,000,000.

       Daugherty and Adkins each moved to dismiss the charges against them. Daugherty

moved to dismiss the Indictment on the basis of pre-indictment delay. [Record No. 143]

Adkins moved to dismiss the indictment on the basis of pre-indictment delay, immunity, and

for failure to state an offense. [Record Nos. 132 and 139] The United States filed responses

in opposition to the motions. [Record Nos. 148, 149, 155] The motions were referred to

United States Magistrate Judge Robert E. Wier for review and issuance of a report pursuant to

28 U.S.C. § 636(b)(1)(B). In three separate Recommended Dispositions, Magistrate Judge



                                             -1-
Case: 5:16-cr-00022-DCR          Doc #: 199     Filed: 05/03/17      Page: 2 of 11 - Page ID#:
                                              1387



Wier analyzed each claim and recommended that they be denied. [Record Nos. 177, 178, 181]

Following review, the Court agrees with the recommendations.

       I.      Pre-Indictment Delay

       Defendant Daugherty alleges that the Social Security Administration Office of the

Inspector General (“OIG”) opened the case that led to his Indictment on May 16, 2011.

[Record No. 143 at 2] Defendant Adkins references a Grand Jury proceeding in the Southern

District of West Virginia in September of 2012 as the beginning of the alleged delay in bringing

this case. [Record No. 132-1 at 2, 6]

       As explained in the Magistrate Judge’s Recommended Disposition, obtaining dismissal

for pre-indictment delay presents a defendant with a burden that is “nearly insurmountable.”

United States v. Rogers, 118 F.3d 466, 477 n.10 (6th Cir 1997). Dismissal under this theory

“is warranted only when the defendant shows [1] substantial prejudice to his right to a fair trial

and [2] that the delay was an intentional device by the government to gain a tactical

advantage.” United States v. Brown, 959 F.2d 63, 66 (6th Cir. 1992) (emphasis in original).

The defendants have established neither ground.

       As to the first prong of prejudice, Daugherty and Adkins base their arguments on the

death of potential witnesses. The Sixth Circuit recognized in Rogers that “[t]he death of a

potential witness during the pre-indictment period may demonstrate the requisite prejudice if

the defendant can demonstrate that exculpatory evidence was lost and could not be obtained

through other means.” 118 F.3d at 475 (emphasis added). “However, a defendant does not

show actual prejudice based on the death of a potential witness if he has not given an indication

of what the witness’s testimony would have been and whether the substance of the testimony



                                               -2-
Case: 5:16-cr-00022-DCR          Doc #: 199     Filed: 05/03/17      Page: 3 of 11 - Page ID#:
                                              1388



was otherwise available.” Id. Moreover, “[e]ven where a defendant specifies what a deceased

witness’s testimony would have been, actual prejudice is difficult to prove.” Id.

       Daugherty’s Motion identifies four deceased individuals who potentially could have

been called as witnessed during trial. However, he fails to show a loss of exculpatory evidence

“not [] obtain[able] through other means,” as Rogers requires. As one example, Daugherty

identifies former SSA ALJ Algernon “Al” Tinsley, who died in 2014. [Record No. 143 at 2]

According to the defendant, Tinsley gave an interview before his death stating that he had

worked with Daugherty and Conn and “had no knowledge of any improper relationship

between the two.” [Id.] Tinsley allegedly stated he would never have worked for Conn had

he thought Conn was doing anything illegal. [Id.] Further, Tinsley criticized the SSA as “only

concerned about the quantity of the work produced by their ALJs, not the quality of that work.”

[Id. at 3] This is plainly insufficient to meet the prejudice standard.

       It is far from clear how Tinsley’s potential testimony is unique. As the government

argues and the Magistrate Judge points out, “simply denying knowledge of an improper

relationship between Daugherty and Conn assuredly would be commonplace, especially if

[Daugherty] in fact had no improper relationship with Conn[.]” [Record No. 177 at 4]

Moreover, there are surely numerous other individuals who could testify regarding the SSA’s

policies and its treatment of ALJs. Without any showing that Tinsley’s testimony is not

available through other means, Daugherty has made it nowhere near the mark of showing

actual prejudice from the death of Tinsley and loss of his testimony.

       This is also true for the other potential witnesses Daugherty identifies. Dr. Frederick

Huffnagle, according to Daugherty, died in late 2010, before the delay period about which the

defendants complain. Because Daugherty does not allege that the prosecutorial delay preceded
                                               -3-
Case: 5:16-cr-00022-DCR         Doc #: 199     Filed: 05/03/17     Page: 4 of 11 - Page ID#:
                                             1389



2011, it is not clear how Dr. Huffnagle could have been a potential witness.1 Attorney William

Redd, a lawyer who practiced before Daugherty and has since had a stroke (the time of which

is undisclosed), could have supposedly testified regarding campaign contributions to

Daugherty’s daughter—a tangential issue and not something alleged to be unique to Redd’s

knowledge. Finally, Dr. Syed Ikramuddin, a physician who provided reviews of claimants at

the request of Conn, died in late 2011. Daugherty admits that “it is unclear what this physician

would have said about the propriety of his reviews of claimants[.]” [Record No. 143 at 4]

Apart from failing to give any “indication of what the witness’s testimony would have been”

for Dr. Ikramuddin, Daugherty fails to discuss for each of these individuals “whether the

substance of [their] testimony [is] otherwise available.” For reasons distinct or shared among

the now-deceased potential witlessness, Daugherty has failed to meet the Rogers test for

establishing prejudice.

       Defendant Adkins lists the initials of 16 now-deceased claimants whom he alleges

would have been able to “testify as to the thoroughness of [his] mental health evaluation of

them.” [Record No. 132-1 at 6] Not only that, but “the [j]ury would have been allowed the

opportunity to personally view these witnesses to compare their mental histories to their

testimony and the jury would find the criminal allegations against Dr. Adkins are wrong.” [Id.]

Adkins also argues that he has lost the opportunity to “request complete mental evaluations”

from “other professionals to show his assessments were true and accurate by comparison.”

[Id.] Under Rogers, however, Adkins must show that the testimony from these witnesses is

not otherwise available or capable of being obtained through other means.        As the United


1
       Daugherty has not alleged, for example, that the SSA OIG intentionally delayed their
investigation.
                                              -4-
Case: 5:16-cr-00022-DCR         Doc #: 199     Filed: 05/03/17    Page: 5 of 11 - Page ID#:
                                             1390



States and the Magistrate Judge point out, Adkins evaluated hundreds of claimants for Conn

during the course and scope of the charged conspiracy[.]” [Record No. 177 at 10 (quoting

Record No. 149 at 14-15)] Therefore, Adkins has hundreds of other potential witnesses

through which he may establish the very thing he allegedly would have sought from the

sixteen.

       The second prong is whether the pre-indictment delay was intentionally caused by the

government to gain a tactical advantage. Brown, 959 F.2d at 66. Neither defendant offers a

compelling argument on this point. In fact, Daugherty attempts to shift the burden to the

government. He cites an out-of-circuit, outlier case that requires the government to “come

forward and provide reasons for its delay” once prejudice has been established. United States

v. Sowa, 34 F.3d 447, 451 (7th Cir. 1994) (“once the defendant has proven actual and

substantial prejudice, the government must come forward and provide its reasons for the

delay”). This is not the law in this circuit. United States v. Schaffer, 586 F.3d 414, 426 (6th

Cir. 2009) (“The applicable standard . . . requires [the defendant] to demonstrate that the

Government had no valid reason for the delay.”). Sowa is an outlier among circuits (see Record

No. 177 at 8 n.5 (surveying cases)) and because Daugherty has failed to establish prejudice,

Sowa has no work to do here.

       For his part, Adkins does not actually argue that the government undertook a delay for

the purpose of tactical advantage. He only seems to imply it, suggesting “the Government

does not have a good reason for such a delay.” [Record No. 132-1 at 7] According to Adkins,

the government was aware of the physical condition of the potential witnesses but waited to

bring the case: “only after these sixteen witnesses died [] did the Government decide to pass



                                              -5-
Case: 5:16-cr-00022-DCR         Doc #: 199     Filed: 05/03/17      Page: 6 of 11 - Page ID#:
                                             1391



the baton to the Eastern District of Kentucky and prosecute the Defendant.” [Id.] As the

Magistrate Judge characterizes it, this a naked assertion with no evidentiary support.

       Because the defendants have failed to establish either prong of the standard for

dismissal based upon pre-indictment delay, they are not entitled to the relief under this theory.

       II.    Immunity

       Defendant Adkins alleges that he was granted informal immunity in exchange for his

testimony before the Federal Grand Jury in the Southern District of West Virginia on

September 25, 2012. [Record Nos. 132 at 1, 132-1 at 2] Magistrate Judge Wier concluded

that, assuming all of the factual allegations in Adkins’s motion are true, he is not entitled to

relief based on this assertion. [Record No. 178 at 5] The Court agrees.

       Adkins claims that, on August 23, 2012, “Government agents, McGill and Morton,

arrived at the Pikeville Medical Center to serve [him] with a subpoena to testify” in front of a

Federal Grand Jury in the Southern District of West Virginia investigating Eric Conn and his

law practice’s submission of Social Security claims. [Record No. 132-1 at 2] Adkins states

that, out of concern, he “made a comment to the agents, if he needed a lawyer.” [Id.] The

“agent(s) replied that [he] was not a target and he didn’t need a lawyer.” [Id.] Adkins argues

that he “viewed the comments as a grant of immunity conveyed to him by agents acting on

behalf of the Assistant U.S. Attorney” who issued the subpoena. [Id.] He suggests that he

would not have conversed with the agents or testified had his “concern of criminal jeopardy”

not been “alleviated by the grant of immunity.”         [Id.]   Adkins further argues that his

“detrimental reliance” on the agents’ statement that he did not need a lawyer “was solidified

into a contractual agreement that he would not be prosecuted, when he spoke to the agents and

gave testimony to the Grand Jury.” [Record No. 132-1 at 4]
                                              -6-
Case: 5:16-cr-00022-DCR          Doc #: 199     Filed: 05/03/17      Page: 7 of 11 - Page ID#:
                                              1392



       This factual allegation fails to entitle Adkins to relief for two reasons. First, taking the

allegations as true, together with excerpted the transcript from his Grand Jury testimony, it is

clear that no contractual agreement for pocket immunity existed. Second, even assuming that

Adkins was granted pocket immunity by the prosecutor in the Southern District of West

Virginia, Adkins alleges no basis to find an exception to the rule that such agreements are

binding only in the prosecutor’s jurisdiction.

       Promises of pocket immunity “are contractual in nature and do not bind other parties

not privy to the original agreement.” United States v. Turner, 936 F.2d 221, 223 (6th Cir.

1991). A defendant seeking to enforce a promise “must show both that the promisor had actual

authority to make the particular promise and that he (the defendant) detrimentally relied upon

it.” United States v. Flemini, 225 F.3d 78, 84 (1st Cir. 2000). While Adkins alleges reliance,

he has not established that a promise was actually made, or that the agents he spoke with had

authority to make a promise. As the Magistrate Judge notes “[f]oundationally, no prosecutor

(or law enforcement agent) assured Adkins ‘that he will be immune from any prosecution’

based on his grand jury testimony.” [Record No. 178 at 5 (quoting Turner, 936 F.2d at 223)]

Any doubt is eliminated by the transcript of the AUSA’s statements to Adkins.

       Adkins was told that his status of not being a target of the investigation “can change at

any time,” and that “being told that you’re not a target today doesn’t meant that you’ll never

be one.” [Record No. 149-1 at 2] Adkins affirmatively acknowledged each statement. [Id.]

The direct statement that Adkins could become a target of the investigation at a later time

removes any mystery as to what Adkins was promised. Even if he initially understood the

agent’s statement that he “was not a target” as meaning he was being given immunity, the

prosecutor’s explanation at the outset of Adkins’s Grand Jury testimony that “that word [target]
                                                 -7-
Case: 5:16-cr-00022-DCR         Doc #: 199     Filed: 05/03/17        Page: 8 of 11 - Page ID#:
                                             1393



has a specific meaning within the Department of Justice” would have disabused him of that

notion. [Id.] Adkins is a highly-educated individual and he does not allege that he was

somehow tricked into testifying.

       Even setting this clear evidence aside and assuming that there was an agreement of

pocket immunity (Adkins does not allege being granted formal immunity), that immunity

would not present a hurdle to this prosecution. As the Sixth Circuit made clear in Turner,

promises of pocket immunity “do not bind other parties not privy to the original agreement.”

936 F.2d at 223; see also United States v. Peister, 631 F.2d 658, 662-63 (10th Cir. 1980). In

fact, federal statutory authority requires that grants of immunity that bind all federal

prosecutors must be approved of a senior Justice Department official. 18 U.S.C. § 6003(b).

Adkins’s cited authority that informal agreements can be binding nationwide, United States v.

Carter, 454 F.2d 426 (4th Cir. 1972) (en banc), dealt with a distinct factual scenario where the

defendant was in fact promised nationwide immunity. Critically, Adkins alleges nothing more

than being told he was not presently a target of the investigation.

       On the facts alleged, Adkins can show no plausible theory that he is immune from

prosecution in the Eastern District of Kentucky. Moreover, because the question of immunity

is “a pure question of law” for the Court, Flemmi, 225 F.3d at 84, Adkins is not entitled to

present an immunity defense at trial.

       III.   Failure to State an Offense

       Finally, and perhaps most creatively, Adkins seeks dismissal of the Indictment under

Federal Rule of Criminal Procedure 12(b)(3)(B)(v), failure to state an offense, on the theory

that because psychological diagnoses are inherently subjective, they are “not subject to the

fraudulent or misrepresentation standards to be examined in a criminal court.” [Record No.
                                              -8-
Case: 5:16-cr-00022-DCR          Doc #: 199     Filed: 05/03/17      Page: 9 of 11 - Page ID#:
                                              1394



139 at 2] On the contrary, the United States asserts “the expression of an opinion not honestly

entertained may constitute [a] false or fraudulent statement[].” [Record No. 155 at 23]

       But to indulge this novel theory is to miss the point. The fatal flaw in Adkins’s motion

is otherwise apparent—the motion does not actually attack the Indictment for failure to state

an offense. Rather, it substantively contains “an answer to the allegations of the [I]ndictment.”

[Id. at 14] Motions to dismiss under Rule 12(b)(3)(B)(v) are meant for purely legal questions.

United States v. Ali, 557 F.3d 715, 719 (6th Cir. 2009) (“A motion under Rule 12 is therefore

appropriate when it raises questions of law rather than fact.”). Because there exists no infirmity

in the Indictment under the proper Rule 12 standard, Magistrate Judge Wier’s Recommended

Disposition [Record No. 181] will be adopted, and Adkins’s Motion to Dismiss [Record No.

139] will be denied.

       As the Magistrate Judge thoroughly outlines, the Indictment as to Adkins sufficiently

states offenses. It “plainly contains the elements of the offenses charged[,] fairly informs

[Adkins] of the charges against which he must defend[,] and enables him to plead an acquittal

or conviction in bar of future prosecutions for the same offenses.” [Record No. 181 at 3

(quoting Hamling v. United States, 418 U.S. 87, 117 (1974)) (internal marks omitted)] The

counts of the Indictment pertaining to Adkins “clearly track[] the language of the statute and

thus contain[] the elements of the [offenses charged].” United States v. Anderson, 605 F.3d

404, 411 (6th Cir. 2010). Moreover, it include[s] the relevant time period and the specific

event that triggered the charge against [him].” Id.

       Adkins’s discussion of his process for evaluating claimants, his knowledge (or lack

thereof) of the Social Security disability application process, and his suggestion that his



                                               -9-
Case: 5:16-cr-00022-DCR         Doc #: 199    Filed: 05/03/17      Page: 10 of 11 - Page ID#:
                                             1395



opinions may not be impeached because they are merely opinions, are factual arguments

reserved for the jury. 2

       IV.     Conclusion

       Although this Court must make a de novo determination of those portions of the

Magistrate Judge’s recommendations to which timely objections are made, 28 U.S.C. §

636(b)(1)(C), “[i]t does not appear that Congress intended to require district court review of a

magistrate’s factual or legal conclusions, under a de novo or any other standard, when neither

party objects to those findings.” Thomas v. Arn, 474 U.S. 140, 150 (1985). Here, Daugherty

and Adkins have failed to object to any portion of the Magistrate Judge’s Recommended

Dispositions. Nevertheless, the Court has reviewed the record de novo and agrees with each

conclusion reached by Magistrate Judge Wier.

       Daugherty and Adkins have failed to established prejudice from the timing of the

Indictment, and have not shown that any delay was undertaken for tactical reasons by the

United States. Adkins’s argument that he was granted pocket immunity in the Southern

District of West Virginia, and his belief that that agreement bars prosecution in the Eastern

District of Kentucky, is utterly unconvincing. Finally, Adkins has not made a colorable

argument that the Indictment fails to state a claim. Being sufficiently advised, it is hereby

       ORDERED as follows:



2
       Adkins argues that “[s]ince subjective conclusions in the field of psychological
assessments are not provably true or false . . . the jury should not be burdened with the
impossible task of reading minds.” [Record No. 139-1 at 6] This assertion, that the jury cannot
be tasked with evaluating the propriety of his professional opinions, is undercut by Adkins’s
own argument, by separate motion, that he must have the opportunity to “request complete
mental evaluations” of the claimants from “other professionals to show his assessments were
true and accurate by comparison.” [Record No. 132-1 at 6]
                                              -10-
Case: 5:16-cr-00022-DCR      Doc #: 199    Filed: 05/03/17   Page: 11 of 11 - Page ID#:
                                          1396



      1.     United States Magistrate Judge Robert E. Wier’s Recommended Dispositions

[Record Nos. 177, 178, 181], are ADOPTED and INCORPORATED by reference.

      2.     Defendant David Black Daugherty’s Motion to Dismiss [Record No. 143] is

DENIED.

      3.     Defendant Alfred Bradley Adkins’s Motions to Dismiss [Record Nos. 132 and

139] are DENIED.

      This 3rd day of May, 2017.




                                          -11-
